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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

     MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


ERNESTINE MURDOCK and             )
CLAYTON THOMASON,                 )
                                  )
     Plaintiffs,                  )
                                  )          CIVIL ACTION NO.
     v.                           )           2:23cv341-MHT
                                  )                (WO)
TRAVELERS PERSONAL                )
INSURANCE COMPANY,                )
et al.,                           )
                                  )
     Defendants.                  )

                              JUDGMENT

    In accordance with the memorandum opinion entered

today, it is ORDERED and ADJUDGED that:

    (1) Defendant Geico Insurance Company’s motion to

dismiss (Doc. 14) is granted.

    (2) All claims against defendant Geico Insurance

Company    are    dismissed       with     prejudice,        and   said

defendant is terminated as a party to this action.

    The clerk of the court is DIRECTED to enter this

document   on    the   civil    docket     as   a    final    judgment
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pursuant   to   Rule   58   of    the   Federal     Rules    of   Civil

Procedure.

    This case is not closed.

    DONE, this the 8th day of September, 2023.

                                    /s/ Myron H. Thompson
                                 UNITED STATES DISTRICT JUDGE
